Case: 4:21-cv-01405-JAR Doc. #: 12 Filed: 03/21/22 Page: 1 of 18 PageID #: 149




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                 _ _ _ _ _ _ _ _DIVISION


                                                            )
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                                                            )
 Plaintiff(s),                                              )
                                                            )
V.                                                          )   Case No.   4 ~ 1 l -C - I YO 5- J ,4 {<_
Mdr r1 otf 1n~u nah(Y) Ine:., (> ~                                 (to be assigned by Clerk of District Court)



[Q H S:J''\JJU CoW\p tl¥){                l   L   1-C,_ ,   ~   JURY TRIAL DEMANDED
                                                            )
                                                            )     YEScg/' NO
 Defendant(s). (Enter above the fu ll name(s)               )
 of all defendants in thi s lawsuit. Please                 )
 attach additional sheets if necessary.)                    )


                      EMPLOYMENT DISCRIMINATION COMPLAINT

         1.      This employment discrimination lawsuit is based on (check only those that apply):


         Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq., for
         employment discrimination on the basis of race, color, reli gion, gender, or national origin.
         NOTE: In order to bring suit in federal district court under Title VII, you must first obtain
         a right-to-sue letter from the Equal Employment Opportunity Commission.

         Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et seq., fo r
         employment discrimination on the basis of age (age 40 or older).
         NOTE: In order to bring suit in federal district court under the Age Discrimination in
         Employment Act, you must first file charges with the Equal Employment Opportunity
         Commission.

 _u' Americans w ith Disabilities Act of 1990, as amended, 42 U.S .C.         §§ 12101, et seq.,
         for employment discrimination on the basis of disabi lity .
         NOTE: In order to bring suit in federal district court under the Americans with
         Disabilities Act, you must first obtain a right-to-sue letter from the Equal Employment
         Opportunity Commission.
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       Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701, et seq., for employment
       discrimination on the basis of a disability by an employer which constitutes a program or
       activity receiving federal financial assistance.
       NOTE: In order to bring suit in federal district court under the Rehabilitation Act of 1973,
       you must first file charges with the appropriate Equal Employment Office representative or
       agency.




                                                       PARTIES

       2.     Plaintiffs name: ____."1
                                    :=-...1.f-\.:. . I.L._   \f\
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                                                                    . . S..0:!: : . . .Q
                                                                                       i.- - " - - - - - - - - - -

              Plaintiff s address:          535 N , ?ar I:<. L@e . .
                                                     Street address or P.O. Box


                                                     City/ County/ St~te/Zip Code

                                             (,   ~ 1 Y) <r5 5 ~ - «2] 1
                                                     Area code and telephone number

       3.     Defendant's name:              M(J, tr i o±t               l V) ½-e k: (/) 0. 6 a lf\
                                                                                            1
                                                                                                       IV\l '
              Defendant' s address:               \D 4:W             E'ex=r)woo cl Roo.,d
                                                     Street address or P.O. Box


                                                     City/County/State/ iip Code


                                                     Area code and telephone number

 NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE
 PROVIDE THEIR NAMES, ADDRESSES AND TELEPHONE NUMBERS ON A
 SEPARATE SHEET OF PAPER.


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        4.      If you are claiming that the discriminatory conduct occurred at a different location,
 please provide the following information:

 (Street Address)                         (City/Coun                          (State)   (Zip Code)

        5.      When did the discrimination occur? Please give the date or time period:

                              \ \ I 10 / 1-o ldJ
                                 I           l
                                 ADMINISTRATIVE PROCEDURES

        6.      Did you file a charge of discrimination against the defendant(s) with the Missouri

 Commission on Human Rights?

        N      Yes      Date filed : _o
                                                   I
                                                         -_1___I/,__-=c?,,0
                                      ""---'1--'-/--'o.....             -=--1--"
                                                                              _ I __
                No

        7.      Did you file a charge of discrimination against the defendant(s) with the Equal

 Employment Opportunity Commission or other federal agency?

                       Date filed:        () \ /
                                                  , 0 I "/ ~ 2            {


         8.      Have you received a Notice of Right-to-Sue Letter?

                ~        es                                       _Q_No

 If yes, please attach a copy of the letter to this complaint.

         9.      If you are claiming age discrimination, check one of the following:

         _ _ 60 days or more have passed since I filed my charge of age discrimination with the

 Equal Employment Opportunity Commission.

         _ _ fewer than 60 days have passed since I filed my charge ofage discrimination with the

 Equal Employment Opportunity Commission.


                                                              3
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                                  NATURE OF THE CASE

     10.     The conduct complained of in this lawsuit involves (check only those that apply):

                   failure to hire me

             _ _ termination of my employment

             _ _ failure to promote me

             _y('failure to accommodate my disability

             _d, terms and conditions of my employment differ from those of similar employees
                    retaliation

             ~ harassment
               ✓ other conduct (specify) :
                     l~W'\ ~ Swrde-n



       Did you complain about this same conduct in your charge of discrimination?

              __lid_ves                           _Q_No




                                              4
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        11.     I believe that I was discriminated against because of my (check all that apply):

                        race

                        religion

                        national origin

                        color

                        gender

                  ✓     disability

                        age (birth year is:

                        other:



        Did you state the same reason(s) in your charge of discrimination?

                g ves                                   i l No

          12.     State here, as briefly and clearly as possible, the essential facts of your claim.
 Describe specifically the conduct that you believe is discriminatory and describe how each defendant
 is involved in the conduct. Take time to organize your statement; you may use numbered paragraphs
 if you find it helpful. It is not necessary to make legal arguments, or to ci uases or statutes.


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 (Continue to page 6, if additional space is needed.)


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 (Attach additional sheets as necessary).



                                            6
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         13.     The acts set forth in paragraph 12 of this complaint:

                 f i are still being committed by the defendant.
                 _D_ are no longer being committed by the defendant.
                 fil may still be being committed by the defendant.
                                     REQUEST FOR RELIEF

         State briefly and exactly what you want the Court to do for you. Make no legal arguments;

 cite no cases or statutes.




         14.    Under Federal Rule of Civil Procedure 11 , by signing below, I certify to the best of
my knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the requirements
of Ru le




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       I agree to provide the Clerk's Office with any changes to my address where case-related

papers may be served. I understand that my failure to keep a current address on file with the Clerk's

Office may result in the dismissal of my case.

       I declare under penalty of perjury that the foregoing is true and correct.

                      Signedthis 1'f.1ctayof        ~~                               20 '2-2:.--:

                      Signature of Plaintiff       ~ ~                          ->




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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DISTRICT




INI WATSON ,
    Claimant,          No.4:21-CV-1405-JAR

V.

MARRIOTT INTERNATIONAL INC. et al. ,
  Defendants.

          CLAIMANT'S PETITION FOR RELIEF AGAINST DEFENDANTS MARRIOTT
                                      INTERNATIONAL et al,

Claimant asserts and incorporates by reference the assertions in the following paragraphs.

     1. Claimant is a qualified woman of color with a chronic lung disease called asthma;
     2. Defendants conduct on November 10, 2020 was consistent with violating the Americans
        With Disabilities Act by failing to accommodate Claimant's asthma.
     3. Claimant's request to accommodate her asthma would not have caused the Defendants
        any undue hardship by adjusting the schedule, even if temporarily, to allow Claimant to
        work days that limited her exposure to chemicals and mold.
     4. The Defendants do not cite any hardship to its company during the Commission's
        investigation.
     5. Claimant suffered an adverse employment action when she was reprimanded for
        attendance on November 19, 2020.
     6. The Defendants actions in doing so were inconsistent with its own attendance policy at
        the time.
     7. As a proximate result of the unlawful acts described above, Claimant suffered and
        continued to suffer injury.
     8. Defendants unlawful actions were and are intentional, willful , malicious and/or done with
        reckless disregard to Claimant's right to be free from discrimination based on her
        disability.
     9. Claimant is entitled to injunctive and declaratory relief, including emergency relief,
        compensatory damages, punitive damages, attorney fees and costs.

Respectfully Submitted,




lni Watson
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                                                    Certificate of Service




This is to certify that a true copy of Claimant's Petition for Relief was forwarded by certified mail
on this ~      day of March 2022 to the following :

Margaret D. Gentzen, Esq.
Fox Smith, LLC
One S. Memorial Drive, 12th Floor
St. Louis, MO 63102

EQH SERVICE COMPANY LLC. (contractor with MARRIOTT INTERNATIONAL INC.)
10400 Fernwood Road
Bethesda, MD 20817

Respectfully Submitted,




 lni Watson




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                     ALEXIS MARIE MITCHELL
                    Notary Public - Notary Seal
                         State of Missouri
                 Commissioned for St. Louis County
               My Commi~si~n Expires: January 24, 2025
              _ Comm1ss1on Number: 211_:14209
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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DISTRICT




INI WATSON ,
    Claimant,          No. 4:21-CV-1405-JAR

V.

MARRIOTT INTERNATIONAL INC. et al. ,
  Defendants.

            CLAIMANT'S PETITION TO DETERMINE FAILURE TO ACCOMMODATE
                VIOLATION OF TITLE I AMERICANS WITH DISABILITIES ACT

Claimant, lni Watson , affirms and states as follows her amended complaint against the
Defendant(s) MARRIOTT INTERNATIONAL INC. et al. , for failure to accommodate in violation
of Title I of the Americans with Disabilities Act.

     1. Defendant, MARRIOTT INTERNATIONAL INC. is an American Multinational company
          that operates, franchises, and licenses lodging including hotel , residential and timeshare
          properties.
     2. It is located at 10400 Ferwood Road , Bethesda Maryland 20817 as the headquarter of
          the MARRIOTT brand.
     3. MARRIOTT INTERNATIONAL INC. has approximately 176,000 employees.
     4. The RESIDENCE INN by MARRIOTT is located at 3290 RIDER TRAIL SOUTH , EARTH
          CITY MISSOURI 63045. See: EXHIBIIA
     5. This RESIDENCE INN by MARRIOTT is managed and operated by EQH SERVICE
          COMPANY LLC. under licensing from MARRIOTT INTERNATIONAL INC.
     6. EQH SERVICE COMPANY LLC. currently employs 125 individuals as indicated in its
          Response to the Commission's Initial Respondent Interrogatory.
     7. On behalf of MARRIOTT INTERNATIONAL INC., EQH SERVICE COMPANY LLC. acts
          as an agent by and through its day to day operations, logos, uniforms, training , hiring,
          firing etc.
     8. Claimant has asthma. See: EXHIBIT B
     9. Asthma is a chronic lung disease which affects an individual's respiratory system and if
          not controlled properly, it could cause death .
     10. Some of the symptoms associated with this disease are cough , chest congestion , fatigue
          and difficulty breathing.
     11 . Flare ups or episodic attacks are unpredictable attacks to an individual's respiratory
          system that substantially limits the ability to breathe.
     12. Claimant has been hospitalized more than once for asthma.
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  13. The medications prescribed are used to reduce the inflammation within the lungs to
        allow air in and out.
  14. In this case, Claimant's medications consist of a rescue inhaler and a daily intake of
       tablets to manage and control her asthma. See: EXHIBIT C
  15. Claimant learned from an allergy test that her flare ups were triggered by mold and
        chemicals used at work. See: EXHIBIT D
  16. Claimant was unaware of her allergies to mold and chemicals at the time of her request
       for an accommodation for her asthma on November 1O, 2020.
  17. Claimant is currently employed with EQH SERVICE COMPANY, LLC as a full-time hourly
       employee.
  18. Claimant's current pay rate is $17.94 per hour.
  19. Claimant's current title is Housekeeping Supervisor.
  20. Claimant was employed by EQH SERVICE COMPANY LLC. on September 3, 2018 as a
       Room Attendant at the RESIDENCE INN in Earth City, Missouri.
  21 . Claimant's previous role and title as a Room Attendant consisted of daily general
       cleaning of guests rooms by meeting the physical demands of the work environment
       required to stand, walk, bend, stoop, kneel , crawl , lift, push and/or carry items up to 25
       pounds. See: EXHIBIT E
  22. Claimant was promoted to Housekeeping Supervisor on May 2, 2019 with a promise for
       an office space, pay increase, laptop and further training .
  23. Claimant's duties as the newly promoted Housekeeping Supervisor included inspecting,
       staging rooms, preparing assignments and frequently performing the duties of her
       previous title and role with the expectation that she would be able to perform duties more
       consistent with her title and role as Housekeeping Supervisor. See: EXHIBIT F
  24. On or around March 19, 2020 Claimant learns that she had been required to work at the
       RESIDENCE INN during the global pandemic as an Essential Worker.
  25. Claimant's work hours were reduced and remained reduced until around December
       2020 when business started picking up. See: EXHIBIT G
  26. Claimant received unemployment benefits from around May 2020 thru November 2020.
       See: EXHIBIT H
  27. On or June 17, 2020 Claimant was diagnosed with Pneumonia after suffering an asthma
       attack at work on or around June 15, 2020.
  28. On or around June 17, 2020 Claimant informs her supervisor through text messaging
       that she will be seeking emergency care for her asthma and will not be coming in to
       work. See: EXHIBIT I
  29. Claimant was experiencing difficulty breathing.
  30. On around June 23, 2020 Claimant returned to work physically exhausted and struggling
       to complete assignments.
  31. Claimant began voicing her concerns with her supervisor and had requested to use PTO
       for more time off.
  32. Claimant's supervisor responded , "corporate would not allow more than two days (16
       hours) of PTO at a time" when Claimant was unaware of whether or not there had been
       any material changes to the policy that limited this benefit during the pandemic.
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  33. Claimant was granted the use of two days of PTO on or around July 27, 2020 and July
      28, 2020. See: EXHIBIT J
  34. On or around August 29, 2020 while Claimant was out a second time for asthma related
      symptoms, she contacted ADP via email regarding her health and PTO. See: EXHIBIT
      .IS
  35. Claimant expressed that she had over 60 hours of PTO and believed she should have
      been allowed to use more than two days (16 hours) at a time per policy.
  36. On or around September 2, 2020, Claimant receives correspondence from her
      supervisor regarding FFCRA- Families First Coronavirus Response Act. See: EXHIBIT
     !..
  37. It included a note which said: "lni Please fill out for both periods of time out. 1st time out
       testing and this one. Send back ASAP please. Thank you!"
  38. Claimant's supervisor had explained the reason being was to code for quarantine hours
       as a result of having COVID-19 tests while out on 6/17; 6/18; 6/19 and 8/24; 8/25; 8/28
       of the year 2020.
  39. On or around September 7, 2020 a representative with ADP calls Claimant to verify the
       unpublished policy change from five days to two .
  40. The ADP representative also indicated that the male associate was allowed to have six
       days off in a row because he was in a different department.
  41 . Claimant believed her supervisor acted in an unprofessional manner with a total
       disregard for her health.
  42. On or around September 8, 2020 Claimant returns to work on "sheet change" day
       because Claimant's supervisor had changed it from Monday to a Tuesday. See:
       EXHIBITM
  43. Claimant's return was met with a number of neglected guest rooms and previously
       occupied rooms with mold to be completed within a specified amount of time.
  44. It was mentally and physically challenging for Claimant seeking relief from the physical
       demands of her assignments to clean rooms when her supervisors would notate, "finish
       whole boards please" or "need ALL rooms on boards for arrivals!" or "please stay til
       2pm!" See: EXHIBIT N
  45. Prior to November 10, 2020 Claimant's supervisors were aware of her issues with
       asthma yet had overlooked Claimant's physical struggles.
  46. On or around November 10, 2020 Claimant made a request to receive an
       accommodation for her asthma as verified with an email between Defendant(s) and an
       ADP representative. See: EXHIBIT 0
  47. Claimant's request was not for hours to be reduced but to adjust the schedule so that
       Claimant could be relieved of the prolonged exposure to chemicals and the physical
       demands to complete assignments on "full service" days (heavy days).
  48. Adjustment of EQH's scheduling would not have caused any undue hardship but rather a
       reasonable accommodation that would have provided Claimant with the ability to meet
       the physical demands of the duties she was assigned without feeling emotionally
       distressed, physically drained.
  49. Claimant's request to work on "lighter days" was denied on the basis it would not be fair
       to the others.
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  50. In its Position Statement to the Commission, EQH SERVICE COMPANY LLC. asserts no
        undue hardship as its reasoning for denying Claimant's request to accommodate her
        asthma only stating, "it is nearly impossible for a company like EQH to predict which
       days will be "easy"." See: EXHIBIT P
  51 . As of September 2021 , during the same month Claimant received her Right To Sue
        letter, Claimant received an office space and further training for scheduling of the
       housekeeping staff.
  52. Claimant learned how to schedule housekeeping staff according to which days would be
       "heavy" and which days would be "lighter'' by reviewing the RESIDENCE INN's statistics
       report.
  53. On or around November 10, 2020 Claimant's supervisor emailed a representative with
       ADP stating that, "I have a housekeeping supervisor lni Watson . She has gone to the
       ER this pandemic and had asthma issues. "
  54. On or around November 10, 2020 Claimant was reprimanded with 5 points for
       attendance after being permitted to leave less than four hours into the work shift.
  55. Claimant questions the Defendant(s) actions in disregarding its own attendance policy at
       the time indicating, "1 point for leaving less than four hours into a scheduled work shift"
       when Claimant received 5 points. See: EXHIBIT Q
  56. On or around November 13, 2020 Claimant called off work for a dental appointment and
       for personal reasons related to her asthma.
  57. Claimant received medical documentation from the dentist to be excused from work until
       November 17, 2020.
  58. Claimant expected her absences to be excused in the same manner as before when ;
  59. Claimant's medical documentation excused absences from work June 17, 2020 thru
       June 23, 2020 and from August 23, 2020 thru September 8, 2020.
  60. Claimant has no prior record of disciplinary action taken against her for attendance.
  61 . On or around November 19, 2020 Claimant suffers an adverse employment action when
       she is informed of an unexpected write-up for attendance and threatened with
       termination if her attendance does not improve within the timeframe specified on the
       RESIDENCE INN counseling form . See: EXHIBIT R
  62. Claimant's supervisor accepted her medical documentation to be excused for three days
       of scheduled work- November 13, 2020; November 15, 2020 and November 16, 2020.
  63. In doing so, Claimant's supervisor brought to her attention that the medical
       documentation provided from the dentist contained an error indicating a return date of
       November 10, 2020. See: EXHIBITS
  64. Claimant followed up with the dentist to obtain medical documentation indicating the
       correct return date of November 17, 2020. See: EXHIBIT T
  65. The Defendant(s) in its Response for Additional Information to the Commission asserts
       that Claimant was disciplined for attendance yet failed to disclose a copy of its policy
       describing violation of its policy as described in paragraph 55. See: EXHIBIT U
  66. Otherwise, it would be fair to conclude that Claimant was wrongly written up for
       attendance following her request to accommodate her asthma.
  67 . Its actions were indicative of being unfair, malicious, unreasonable and retaliatory.
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   68. On or around December 10, 2020 Claimant consulted with a medical physician regarding
         her asthma and multiple visits to Urgent Care;
   69. Claimant was diagnosed with depression and referred to counseling ; and
   70. Claimant submitted to an allergy test to determine, if any, what allergens were
        responsible for her episodic attacks.
   71. On or around January 5, 2021 Claimant forwarded certified correspondence to her
 '      supervisors at the RESIDENCE INN disputing the write-up citing EQH's attendance
        policy at the time, inquiring of whether or not disciplinary action was taken against an
        associate for insubordination and job abandonment and Notice of Harm and Burden .
        See: EXHIBIT V
   72. To date, Claimant has not received any written or verbal response regarding any of her
        correspondence as stated in paragraph 71 .
   73. On or around January 7, 2021 a Notice of a Charge of Disability Discrimination was duly
        filed with MCHR and the EEOC against MARRIOTT INTERNATIONAL INC.
   74. On or around January 8, 2021 Claimant's supervisor enters her work space without
        warning to insist that she takes all the FMLA she wants.
   75. On or around January 9, 2021 Claimant receives correspondence via email and certified
        mailed from RESIDENCE INN by MARRIOTT new Human Resources Department
        requiring her to provide a medical certification from a physician to qualify any future
        absences under the Family and Medical Leave Act (FMLA) when the timing of this
        correspondence was questionable. See: EXHIBIT W
   76. Claimant questions her supervisor's actions and the reasons why she was being
        aggressively forced to take FMLA on or around January 8, 2021 when;
   77. On or around December 14, 2020 Claimant emailed a request to ADP for FMLA
        paperwork out of fear that she may lose her employment due to her asthma. See:
        EXHIBITX
   78. On or around December 18, 2020 the Defendant(s) interfered with Claimant's request for
        FMLA by abruptly and unexpectedly ending its relationship with ADP.
   79. Claimant's response on or around January 16, 2021 to RESIDENCE INN new Human
        Resources Department reflected that Claimant, "look forward to showing up as
        scheduled and eventually having the opportunity to engage in meaningful dialogue with
        my supervisor. " See: EXHIBIT Y
   80. On or around January 21 , 2021 MARRIOTT INTERNATIONAL INC. had received Notice
        that a complaint had been filed against it for failure to accommodate Claimant's disability.
   81 . The Defendant(s) failed to disclose to the Commission Claimant's work schedule 2-3
        months after her request to accommodate her asthma when the schedule reflects the
        Defendant(s) willful actions to continue to schedule Claimant on "heavy" days while other
        housekeeping staff were rotated . See: EXHIBIT Z
   82 . The months following include the investigation into the unlawful conduct exhibited by the
        Defendant(s) without a definitive finding of the Commission that it violated the Americans
        with Disabilities Act.
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For all the reasons stated above, it is Claimant's belief that Defendant(s) failed to accommodate
Claimant's asthma and fraudulently misrepresented facts to the Commission with the intention
to prevent a finding that it committed a violation of the Americans with Disabilities Act.

Claimant expects the evidence (Exhibits A thru Z) to support her claims as described in
paragraphs 1- 82 when the Defendant( s) substituted its own judgment of the law to engage in
unlawful business conduct.

Respectfully Submitted,



   ~Lr----
lni Watson
Case: 4:21-cv-01405-JAR Doc. #: 12 Filed: 03/21/22 Page: 18 of 18 PageID #: 166



                                                     Certificate of Service




This is to certify that a true copy of Claimant's amended Complaint for Failure to Accommodate
was forwarded by certified mail on this _/J:fJJay of March 2022 to the following :

Margaret D. Gentzen , Esq.
Fox Smith, LLC
One S. Memorial Drive, 12th Floor
St. Louis , MO 63102

EQH SERVICE COMPANY LLC. (contractor with MARRIOTT INTERNATIONAL INC.)
10400 Fernwood Road
Bethesda, MD 20817

Respectfully Submitted ,




lni Watson




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                  ALEXIS MARIEMTCHRl
                 Notary Public - Notary Seal
                     State of Missouri
              Commissioned for St. Louis County
          I
          ,
            My Commission Expires: January 24 2025
               Commission Number: 21144209
